               Case 4:22-cr-00104-YGR Document 16 Filed 05/03/22 Page 1 of 2




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10
                                 NORTHERN DISTRICT OF CALIFORNIA
11
                                          OAKLAND DIVISION
12

13   UNITED STATES OF AMERICA,                         )   NO. 4:22-CR-00104-YGR
                                                       )
14           Plaintiff,                                )   STIPULATION TO CONTINUE STATUS
                                                       )   CONFERENCE AND TO EXCLUDE TIME FROM
15      v.                                             )   MAY 11, 2022 TO JUNE 22, 2022 AND
                                                       )   [PROPOSED] ORDER
16   ENRIQUE CHAVEZ,                                   )
                                                       )
17           Defendant.                                )
                                                       )
18
19           This matter is currently set for a status conference on May 11, 2022. To provide adequate time
20 for the defense to review discovery already produced, for the government to obtain and produce

21 additional discovery, and for the parties to engage in discussions regarding a potential resolution of this

22 case, the parties hereby request that the status conference be continued to June 22, 2022.

23           The parties stipulate and agree that excluding time until June 22, 2022 will allow for the
24 effective preparation of counsel. See 18 U.S.C. § 3161(h)(7)(B)(iv). The parties further stipulate and

25 agree that the ends of justice served by excluding the time from May 11, 2022 through June 22, 2022

26 from computation under the Speedy Trial Act outweigh the best interests of the public and the defendant

27 in a speedy trial. 18 U.S.C. § 3161(h)(7)(A), (B)(iv).

28 //

     Stip. to Continue Status Conference and Exclude Time and [Proposed] Order
     Case No. CR 22-104-YGR
              Case 4:22-cr-00104-YGR Document 16 Filed 05/03/22 Page 2 of 2




 1          The undersigned Assistant United States Attorney certifies that he has obtained approval from

 2 counsel for the defendant to file this stipulation and proposed order.

 3

 4          IT IS SO STIPULATED.

 5 DATED: May 2, 2022                                     /s/ Andrew Paulson
                                                          ANDREW PAULSON
 6                                                        Assistant United States Attorney

 7
     DATED: May 2, 2022                                   /s/ Steven Kalar
 8                                                        STEVEN KALAR
                                                          Counsel for Defendant Enrique Chavez
 9

10                                           [PROPOSED] ORDER

11          The Court hereby continues the status conference in this matter to June 22, 2022 at 2:00 p.m.

12 Additionally, based upon the facts set forth in the stipulation of the parties and the representations made

13 to the Court, and for good cause shown, the Court finds that failing to exclude the time from May 11,

14 2022 through June 22, 2022 would unreasonably deny defense counsel and the defendant the reasonable

15 time necessary for effective preparation, taking into account the exercise of due diligence. 18 U.S.C. §

16 3161(h)(7)(B)(iv). The Court further finds that the ends of justice served by excluding the time from

17 May 11, 2022 through June 22, 2022 from computation under the Speedy Trial Act outweigh the best

18 interests of the public and the defendant in a speedy trial. Therefore, and with the consent of the parties,
19 IT IS HEREBY ORDERED that the time from May 11, 2022 through June 22, 2022 shall be excluded

20 from computation under the Speedy Trial Act. 18 U.S.C. § 3161(h)(7)(A), (B)(iv).

21          IT IS SO ORDERED.

22

23 DATED: __________________
                                                          HON. YVONNE GONZALEZ ROGERS
24                                                        United States District Judge

25

26

27

28

     Stip. to Continue Status Conference and Exclude Time and [Proposed] Order
     Case No. CR 22-104-YGR
